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                                                                                                  E-FILED
                                                                    Friday, 27 January, 2017 02:28:24 PM
                                                                            Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                               PEORIA DIVISION


RITA GUERRERO, Individually and as the Special                  )
Administrator of the Estate of CELSO N. GUERRERO,               )
Deceased,                                                       )
                                                                )
                              Plaintiff                         )
                                                                )
                      v.                                        )     No. 17-cv-1044
                                                                )
BNSF RAILWAY COMPANY, a corporation                             )
                                                                )     Jury Trial Demanded
                              Defendant                         )

                                             COMPLAINT

       NOW COMES the plaintiff, RITA GUERRERO, Individually and as the Special

Administrator of the Estate of CELSO N. GUERRERO, deceased, by her attorneys, Law Offices

of Robert B. Patterson, Ltd. and Law Offices of Peter F. Ferracuti, P.C., and for her cause of

action against the defendant, BNSF RAILWAY COMPANY, a corporation, alleges:

       1.      On and before February 1, 2015, the defendant, BNSF RAILWAY COMPANY

(hereafter BNSF), was a Delaware corporation having its principal place of business in Ft.

Worth, Texas, and was engaged in the business for profit of operating a rail transportation

system in interstate commerce for carriage of freight within the United States, including doing

business in and through Chillicothe, Peoria County, Illinois.

       2.      On and before said date, the plaintiff’s decedent, CELSO N. GUERRERO, was a

resident of the City of Kewanee, Illinois, and was employed by said defendant BNSF as a

maintenance of way laborer performing work upon the right-of-way of said defendant, BNSF,

including from time to time within Peoria County, Illinois.




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       3.      On February 1, 2015, the plaintiff’s decedent, CELSO N. GUERRERO, while in

the scope and course of his employment for said defendant, BNSF, was caused by his said

employment for said defendant to suffer personal injuries which caused his death in Peoria

County on February 2, 2015.

       4.      By reason of the foregoing, this court has diversity jurisdiction of this cause of

action pursuant to the provisions of 28 U.S.C. sec. 1332 because this action lies between citizens

of different states and the value of the loss of decedent to his heirs and next of kin exceeds the

sum of seventy five thousand ($75,000) dollars exclusive of interest and costs.

       5.      By reason of the foregoing, this court has subject matter jurisdiction of this cause

of action pursuant to the provisions of 28 U.S.C. sec. 1331, and the provisions of the Federal

Employers’ Liability Act, 45 U.S.C. secs. 51-59, because this action arises under the provisions

of said FELA statute.

       6.      On said date of February 1, 2015, a severe snow storm occurred in central Illinois,

including in Peoria, Henry, and Knox counties, covering the highways within said counties with

large accumulations of snow and ice, thereby making driving over the highways of said counties

highly dangerous, which said condition was known to the managing agents and supervisors of

said defendant, BNSF, including its Roadmaster stationed in Galesburg, Illinois.

       7.      On said date, defendant, BNSF, by and through its agent and supervisory

employee Roadmaster, for the benefit of said railroad’s interstate freight operations, instructed

the plaintiff’s decedent by telephone to report to the Galesburg facility before his scheduled shift,

having actual knowledge that the only way in which decedent could comply with that direction

was for decedent to drive from his home in Kewanee, Illinois, upon said dangerously snow and

ice covered highways, to the Galesburg BNSF facility.



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       8.      In compliance with the direction he had received from said supervisory agent,

decedent, CELSO N. GUERRERO, departed from his home and proceeded to drive over said

dangerously snow and ice covered highways, driving along U.S. highway 34, toward said

Galesburg BNSF facility.

       9.      During the time decedent, CELSO N. GUERRERO, was driving from his home in

Kewanee, Illinois to the BNSF Galesburg facility, said decedent was in an “under pay” status

pursuant to Rule 30 of the BNSF/BMWED Agreement, and thereby was on duty engaged in the

performance of work for said BNSF railroad, and thereby was covered and protected by the

provisions of the Federal Employer’s Liability Act, 45 U.S.C. secs. 51-59.

       10.     At the time defendant, BNSF, assigned decedent the task of reporting for work,

and at the time of the occurrence alleged herein, said defendant, BNSF, owed decedent a duty to

provide a safe place for decedent to perform said work of reporting for duty, and to provide

reasonably necessary assistance in performing said work in a safe manner, and to provide

reasonably safe means and manner of performing said work, and to require decedent to perform

only work for which he was reasonably suited under the hazardous conditions then and there

existing.

       11.     While decedent was traveling southwest bound to work along Route 34 at a

location approximately adjacent to 2850 North in Knox County, Illinois, at approximately 5:30

a.m., on said date of February 1, 2015, the automobile he was operating lost traction due to said

dangerous condition of said highway and slid across the highway colliding into the front of an

International Snow Plow tractor being operated in a northeast bound direction at said location on

said highway by the State of Illinois Department of Transportation performing snow removal

operations upon said highway.



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       12.     At the time defendant, BNSF, by and through its agents, servants and employees,

directed decedent, CELSO N. GUERRERO, to report for work as alleged herein, and at the time

of the occurrence hereafter alleged, said defendant carelessly and negligently breached its duties

to decedent in that said defendant:

               a.      Failed to provide decedent with a safe place to work;

               b.      Failed to provide decedent with a safe means of traveling from his home
to said Galesburg facility;

              c.     Failed to provide a reasonably safe means of transport over said
dangerously unsafe snow covered highways;

              d.      Assigned decedent to perform work which was beyond his capacity and
for which he was not reasonably suited, namely to traverse said dangerously snow covered
highways;

               e.     Required decedent to be subjected to the severe hazard of losing control
and sliding upon said dangerously snow covered highways.

       13.     As a direct and proximate result of one or more of said careless and negligent acts

and omissions as alleged above, on said date of February 1, 2015, while in the performance of

his assigned work, decedent’s automobile collided into said IDOT Snow Plow, thereby causing

severe injury to decedent which caused his death in Peoria, Illinois, on February 2, 2015.

       14.     At the time of the occurrence alleged above, and long prior thereto, the plaintiff,

RITA GUERRERO, was the lawful spouse of the decedent, CELSO N. GUERRERO, and was

entitled to receive the society, support, services, companionship and consortium from her

husband, all of which she has been and will be permanently deprived due to the negligence of the

defendant as alleged above.

       15.     The plaintiff, RITA GUERRERO, has been duly appointed as the Special

Administrator of the Estate of CELSO N. GUERRERO, deceased, by the Circuit Court of the




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Fourteenth Judicial Circuit, Henry County, Illinois, by Order entered on January 20, 2017, in

cause number 17-P-14.

        WHEREFORE, the plaintiff, RITA GUERRERO, individually and as Special

Administrator of the Estate of CELSO N. GUERRERO, deceased, demands judgment against the

defendant, BNSF RAILWAY COMPANY, a corporation, in a sum of money in excess of

Seventy Five Thousand ($75,000) Dollars, exclusive of interest and costs, which will fully and

fairly compensate decedent’s said next of kin for the damages, losses and injuries which she has

sustained, and for costs of suit.

                        PLAINTIFF DEMANDS TRIAL BY JURY

                                                       “s/ Robert B. Patterson”
                                                    Robert B. Patterson
                                                    Attorney for Plaintiff
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